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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA


BILAL HANKINS,
                                               Case No. 2:21-cv-01129
                   Plaintiff,
                                               Judge: Eldon E. Fallon
v.
                                               Magistrate Judge:
KEVIN WHEELER, RAMON PIERRE, and               Janis van Meerveld
CARL PERILLOUX (in their individual and
official capacities), THE ORLEANS LEVEE
DISTRICT POLICE, THE HOUSING
AUTHORITY OF NEW ORLEANS, THE                  Jury Trial Demanded
HURSTVILLE SECURITY AND
NEIGHBORHOOD IMPROVEMENT DISTRICT,
and DOE INSURANCE COMPANIES 1-6,

                   Defendants.


PLAINTIFF’S MEMORANDUM IN OPPOSITION TO THE MOTION FOR SUMMARY
   JUDGMENT OF DEFENDANTS KEVIN WHEELER, RAMON PIERRE, CARL
  PERILLOUX, KERRY NAJOLIA, MICHAEL BRENCKLE, DARNELL LAURENT,
                THADDEUS PETIT AND JAMEL BROWN
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                                        INTRODUCTION

       On June 13, 2020, Bilal and two friends stopped playing video games at his home to help

search for a lost dog. As the youths were driving through a neighborhood near Bilal’s home, Bilal

spotted a police officer—Defendant Kevin Wheeler—in a marked Orleans Levee District Police

Department (“OLD-PD”) car. They pulled up beside Wheeler. Bilal asked for help finding the lost

dog, gave his home address, and asked Wheeler to reach out should he find the lost dog. Wheeler

did not help. Instead, he radioed Defendant Ramon Pierre, who along with Wheeler was on patrol

for the Hurstville Security and Neighborhood Improvement District (“Hurstville”). Wheeler and

Pierre trailed Bilal and his friends, switched on flashing lights, and stopped the youths. Wheeler

and Pierre then brandished their deadly firearms at Bilal and the others, only letting them go after

Bilal again told the officers what they knew all along—that he was looking for a lost dog.

       Wheeler’s apology immediately following the stop has done nothing to quell Bilal’s

anxiety, nightmares, and sleeplessness resulting from this harrowing experience.

       To obtain relief for his harm, Bilal asserts claims under Section 1983 against Wheeler and

Pierre for their unlawful stop and excessive use of force. The stop was unreasonable as it was based

on nothing but a hunch of criminal activity and evidence reveals numerous disputes of material

fact. Wheeler and Pierre principally assert that they had reasonable suspicion to conduct the stop

given Wheeler’s purported experience with car burglaries in the area. But that experience is

untethered from the facts in this case. It rests on the absurd assertion that Bilal attempted to

preemptively mask his intent to burglarize cars by actively seeking out and soliciting a police

officer’s help in a red herring search for a lost beloved family dog. Wheeler and Pierre also are not

entitled to qualified immunity because case law clearly establishes that the stop was

unconstitutional.

       Wheeler and Pierre also used objectively unreasonable excessive force, and there are also


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material disputes of fact on this issue. Bilal testified that Wheeler and Pierre brandished their

deadly firearms at him; Wheeler and Pierre deny this. Wheeler and Pierre are not entitled to

qualified immunity for the excessive force claim because their conduct violated Bilal’s clearly

established rights. Case law clearly establishes that where, as here, all the key factual

circumstances weigh against the use of force, officers cannot brandish their deadly weapons at

compliant youth. None of Defendants’ cases state otherwise.

        Bilal also asserts claims against Wheeler’s and Pierre’s supervisors, at Hurstville and OLD-

PD, among others. Evidence shows that these supervisors’ disregard for Wheeler’s and Pierre’s

conduct while on patrol in Hurstville amounts to deliberate indifference, establishing their failures

to train, supervise, and discipline.

        For these reasons, and as discussed below, the Court should deny the Motion for Summary

Judgment of Defendants Wheeler, Pierre, Carl Perilloux, Kerry Najolia, Michael Brenckle, Darnell

Laurent, Thaddeus Petit, and Jamel Brown.

                                       STATEMENT OF FACTS

        On the night of June 13, 2020, then 18-year-old Bilal, was looking for Duchess, a lost white

chihuahua with brown spots, in his neighborhood. Ex. 1, Hankins Tr. 19:2–14; 22:8-21. Bilal and

two of his friends, a college student and a 12-year-old child, searched for the dog. Id. at 22:8–25:7;

36:23–37:6. Bilal and the others saw Wheeler, a uniformed police officer in a marked OLD-PD

police car. Id. at 44:12-48:6. While the others were initially hesitant to approach, Bilal asked

Wheeler whether he had seen the dog. Id. Bilal described the dog and gave Wheeler his home

address. Id. at 44:12-47:8. But it barely seemed to register with Wheeler, as he did not take notes

or ask questions. Id. After speaking with Wheeler, Bilal and his friends resumed their search. Id.

        Wheeler did not help search for the dog, and instead radioed Pierre, who also was on

Hurstville patrol, and works full time for the Housing Authority of New Orleans Police Department


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(“HANO-PD”). Ex. 2, Wheeler Tr. 52:17–25. Wheeler expressed skepticism that Bilal truly was

searching for a dog, thinking that three Black males, in a nice car in a nice neighborhood at night,

must have been seeking to commit a crime such as, according to him, burglary, general theft, or

auto theft. See id. at 49:9–51:23; Ex. 1, Hankins Tr. 71:3-5.

       For all the time that they followed and tracked Bilal and his friends, Wheeler and Pierre

did not observe any behavior by the youths that was inconsistent with them looking for the lost

dog. Neither officer reported seeing Bilal or his friends reaching toward or pulling car door

handles, or otherwise touching or surveilling parked cars. Ex. 3, Pierre Tr. 80:9–22. Neither officer

reported that Bilal or his friends committed any traffic violations. Id. at 60:5–15. Wheeler ran a

license plate search on the vehicle, and the search confirmed that the vehicle had not been reported

stolen and was registered to a New Orleans East address. Ex. 2, Wheeler Tr. 52:5–12.

       Wheeler and Pierre spoke as they both tracked Bilal and his friends. Ex. 2, Wheeler Tr.

53:14-54:20. Wheeler and Pierre jointly decided to conduct an illegal traffic stop, pulling the

youths over without reasonable suspicion. Id. When conducting the stop and exiting his patrol

vehicle, Wheeler yelled: “Driver, get the F--- out the car.” Ex. 1, Hankins Tr. 56:14. Both Wheeler

and Pierre then brandished their guns at Bilal and his friends and accused them of lying about their

search for the lost dog. Ex. 1, Hankins Tr. 61:11–16. Wheeler and Pierre brandished their guns,

even though the youths were entirely peaceful and compliant, and both officers knew that the

youths had just sought help locating the lost dog. Id.; see Ex. 2, Wheeler Tr. 52:13-25. Only after

Bilal and his friends proved they were telling the truth did the officers allow Bilal and his friends

to leave. Ex. 3, Pierre Tr. 94:4–9; Ex. 1, Hankins Tr. 75:21–78:7.

       On the evening in question, Wheeler was working under OLD-PD’s paid detail system, as

an officer for Hurstville, a neighborhood adjoining Bilal’s own. Pierre was working under HANO-




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PD’s paid detail system, also as an officer for Hurstville. Moreover, both had prior disciplinary

infractions. Wheeler previously was fired from the New Orleans Police Department for tasing an

unarmed suspect and lying about it. Ex. 4, Wheeler Termination. Pierre had been reprimanded

multiple times by HANO-PD, including for insubordination. Ex. 8, HANO000846-000872.

        Wheeler’s and Pierre’s Hurstville Supervisor Defendant Perilloux, Wheeler’s supervisors

at the Southeast Louisiana Flood Protection Authority-East (“SLFPA-E) Defendants Najolia,

Brenckle, Petit, Laurent, and Brown, and Pierre’s supervisors Tyrone Martin, Demetrius Jackson,

Tommy Mercadal, and Leontine Mullins (collectively, the “Defendant Supervisors”) all disclaim

responsibility for supervising Wheeler and Pierre. Under this logic, no one was responsible for

supervising Wheeler and Pierre. The Defendant Supervisors, however, testified that Wheeler and

Pierre were to follow OLD-PD and HANO-PD police guidelines, respectively. Although Wheeler

previously had been fired for using excessive force and lying about it, and Pierre previously had

been disciplined for insubordination, both officers were left unsupervised while working a paid

detail and carrying guns. During the incident here, Wheeler was in a marked car and wearing his

OLD-PD uniform and Pierre was in his personal truck, in plain clothes. Ex. 3, Pierre Tr. 42:17–

43:4.

        After discovery limited to qualified immunity, material factual issues remain in dispute,

including the following:

        •   Bilal states that Wheeler and Pierre brandished their guns at him and his two friends.
            Defendants deny this. Whether the officers drew their weapons is critical to
            determining whether their actions were objectively reasonable under the circumstances.

        •   Bilal states he offered his address to Wheeler to help search for the dog. Wheeler claims
            Bilal did not give him an address and it raised his suspicions. The degree to which Bilal
            actively cooperated with the officers is critical to determining the objective
            reasonableness of the officers later drawing their guns at Bilal.

        •   Bilal states that none of the car passengers were hanging out of the car windows prior
            to the stop. Defendants claim the youths were hanging out of the car windows. Whether


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            Bilal and the other car occupants were hanging out of the windows is critical to
            determining the objective reasonableness of the officers pulling them over and later
            drawing their weapons on the unarmed and compliant minors.

       •    Bilal states that he is deeply traumatized by the events of that night. Defendants claim
            that Bilal has suffered no emotional distress.

       •    The Defendant Supervisors state that Wheeler and Pierre were not under the
            supervision or authority of the OLD-PD, SLFPA-E, or its employees. While Bilal does
            not contest that there was no supervision of Wheeler and Pierre, there is a material fact
            dispute as to whether the supervisors should be and are responsible for supervising,
            training, and discipling Wheeler and Pierre while they are working a paid detail.

                                       LEGAL STANDARD

       Courts must deny a summary judgment motion, absent a showing that “there is no genuine

issue as to any material fact.” Cox v. Wal-Mart Stores E., L.P., 755 F.3d 231, 233 (5th Cir. 2014)

(citations omitted). A genuine dispute regarding a material fact exists where “the evidence is such

that a reasonable jury could return a verdict for the nonmoving party.” Sweetin v. City of Texas

City, 48 F.4th 387, 391 (5th Cir. 2022) (citation omitted). At summary judgment, courts “must

view the evidence and draw reasonable inferences in the light most favorable to the nonmoving

party.” Cox, 755 F.3d at 233.

                                           ARGUMENT

I.     WHEELER AND PIERRE FAIL TO SHOW THAT THEIR CONDUCT WAS
       WITHIN THE SCOPE OF THEIR DISCRETIONARY AUTHORITY.

       To invoke qualified immunity, defendants must first show that their actions fell within the

scope of their discretionary authority. Sweetin, 48 F.4th at 392. If defendants establish that they

were acting within the scope of their authority, only then does the burden shift to plaintiffs. Id.

State law determines the scope of an official’s discretionary authority, and “[a]n official acts within

his discretionary authority when he performs non-ministerial acts within the boundaries of his

official capacity.” Cherry Knoll, LLC v. Jones, 922 F.3d 309, 318 (5th Cir. 2019) (citation

omitted).


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        Qualified immunity does not apply where officers act outside of their discretionary

authority. See, e.g., Sweetin, 48 F.4th at 390-392 (reversing lower court’s grant of summary

judgment on qualified immunity to a city “permit officer,” where officer seized drivers without

discretionary authority to do so); see also Malina v. Gonzales, 994 F.2d 1121, 1126 (5th Cir. 1993)

(affirming denial of qualified immunity to a judge who had made a traffic stop because the judge

“is no different than any other person who purchases a red light and stops people on the interstate”).

        Here, Wheeler and Pierre likewise fail to make the threshold showing that they had the

discretionary authority to conduct a traffic stop and brandish their firearms at Bilal. They do not,

and cannot, cite to any statute showing that this conduct was within their discretionary authority.

        A.      No Louisiana Statute Relating to Hurstville Grants Wheeler and Pierre the
                Requisite Discretionary Authority.

        Hurstville has the limited authority to “provide or enhance security patrols in the district”

and does not authorize Wheeler and Pierre to conduct traffic stops and brandish firearms at

adolescents. See LSA R.S. 33:9091.11(E)(5). This statute neither authorizes Hurstville to

commission peace officers nor persons on “security patrols” to seize individuals. See id. Thus, the

Hurstville statute does not grant Wheeler and Pierre the requisite discretionary authority.

        B.      No Louisiana Statute Relating to HANO-PD Granted Pierre the Requisite
                Discretionary Authority.

        The Louisiana legislature expressly limited HANO-PD police powers to “interests relating

to HANO.” See id. La. Stat. Ann. § 40:456.1(A) (HANO “may appoint and commission peace

officers who shall enforce laws, rules, and regulations to secure the protection of persons,

properties, or interests relating to HANO” (emphasis added)); see also id. § 40:456.1(B). 1 Pierre


1
 Additionally, Pierre must identify the statute on which he bases his authority to carry a gun while working
a private patrol in Hurstville. Ex. 3, Pierre Tr. 40:8-18. HANO-PD peace officers may only “carry weapons,
concealed or exposed while in the performance of their [HANO-PD] duties.” § 40:456.1(B). Here, Pierre



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cannot show that his Hurstville patrol duties were for the “protection of persons, properties or

interests relating to HANO.” Here, Pierre was “no different than any other person who purchases

a red light and stops people on the interstate.” Malina, 994 F.2d at 1126. Thus, Pierre fails to show

that his conduct was within his discretionary authority and is not entitled to qualified immunity.

       C.      No Louisiana Statute relating to the OLD-PD Granted Defendant Wheeler
               the Requisite Discretionary Authority.

       Wheeler’s status as a levee police officer did not authorize him to seize Bilal while on a

Hurstville patrol. OLD-PD officers have authority to “maintain[] order and exercis[e] general

police power” within their jurisdiction. R.S. 38.326(A)(1)(a); (A)(2). That jurisdiction is “on and

off the levees, within the area of the levee district or levee and drainage district, and upon its

surrounding waters.” Id. at (A)(1)(a) (emphasis added). Hurstville is not within this jurisdiction,

as Defendants’ own map of the OLD-PD’s jurisdiction makes clear. See Ex. 9, HURSTVILLE-

SLFPAE-00871-77.

       Wheeler also cannot show that he had the statutory authority to conduct the stop and

brandish his gun at Bilal. OLD-PD officers shall be commissioned as a special officer by the

Department of Public Safety and Corrections. R.S. 38.326(A)(1)(b) (citing R.S. 40.1379.1). A

person who receives a special officer’s commission only possesses “the same powers and duties

as a peace officer” when “performing …. tasks directly related to the special officer’s

commission.” R.S. 40.1379.1(B) (emphasis added). Otherwise, “he shall be regarded as a private

citizen and his commission shall not be in effect.” Id. Here, Wheeler was not performing tasks

“directly related” to his special officer’s commission because he was not fulfilling duties for the

OLD-PD—the only reason for his “special officer’s commission.” Thus, Wheeler must “be



was not performing duties for HANO-PD, and therefore, was not authorized to carry a weapon under the
statute—much less aim one at a compliant civilian.


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regarded as a private citizen” while on patrol. See id. Because private citizens cannot seize other

citizens, Wheeler lacked discretionary authority and is not entitled to qualified immunity.

        Given the above, Wheeler and Pierre fail to establish that their conduct was within their

discretionary authority, and this “oft-overlooked threshold requirement is dispositive here.”

Sweetin, 48 F.4th at 392. Accordingly, Wheeler and Pierre are not entitled to qualified immunity

and bear the burden of proving any entitlement to summary judgment.

II.     BILAL’S FEDERAL CLAIMS ARE SUPPORTED BY AMPLE EVIDENCE AND
        DEFENDANTS ARE NOT ENTITLED TO QUALIFIED IMMUNITY.

        A.     Bilal’s Unreasonable Seizure Claim is Supported by Robust Evidence and
               Defendants Are Not Entitled to Qualified Immunity.

               1.      Bilal’s unreasonable seizure claim is supported by the evidence.

        Evidence shows material disputes of fact about whether Wheeler and Pierre lacked

reasonable suspicion to stop Bilal. “Warrantless searches and seizures are per se unreasonable

under the Fourth Amendment—subject only to a few specifically established and well-delineated

exceptions.” United States v. Hill, 752 F.3d 1029, 1033 (5th Cir. 2014) (citation and internal quotes

omitted). One exception is the Terry stop, whereby “police officers may stop and briefly detain an

individual for investigative purposes if they have reasonable suspicion that criminal activity is

afoot.” Goodson v. City of Corpus Christi, 202 F.3d 730, 736 (5th Cir. 2000) (citing Terry v. Ohio,

392 U.S. 1 (1968)). Under this exception, “if a law enforcement officer can point to specific and

articulable facts that lead him to reasonably suspect that a particular person is committing, or is

about to commit, a crime, the officer may briefly detain—that is, seize—the person to investigate.”

Hill, 752 F.3d at 1033 (citation and internal quotes omitted). “The officer must be able to articulate

more than an inchoate and unparticularized suspicion or hunch of criminal activity.” Illinois v.

Wardlow, 528 U.S. 119, 123-24 (2000) (citation and internal quotes omitted).




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       It is undisputed that Bilal and his friends first approached Wheeler by driving toward his

vehicle and requesting assistance finding a lost dog. Ex. 2, Wheeler Tr. 49:6-51:5. Wheeler then

ran a computer search on the license plate and determined that the car was registered to an address

in New Orleans East. After this encounter, Wheeler concluded that a stop was not necessary. Id.

62:11–63:3. Wheeler then recounted his interaction to Pierre, who himself had not witnessed

Bilal’s vehicle or interacted with the passengers. Ex. 3, Pierre Tr. 70:22–71:17; 80:23–81:5. Based

on this discussion—and before Pierre ever encountered Bilal in the vehicle—Pierre decided that

“something is not right here.” Ex. 2, Wheeler Tr. 63:4–19; see also id. at 69:5–14. Thereafter,

Pierre and Wheeler jointly decided to stop the vehicle (Ex. 2, Wheeler Tr. 62:20-63:19), although

no new information since Wheeler’s first encounter with Bilal supported a stop.

       This is not reasonable suspicion. Rather, determining that “something is not right” based

on a secondhand account of an officer being approached by individuals asking for help is just the

type of “inchoate and unparticularized suspicion” that cannot support a lawful stop. Reasonable

suspicion requires “more than a hunch.” United States v. Michelletti, 13 F.3d 838, 840 (5th Cir.

1994) (en banc). Yet by all accounts, a hunch is, at absolute best, all that Defendants Pierre and

Wheeler had when they decided to conduct the stop of three young Black males in an affluent

neighborhood where they were perceived by police officers as looking out of place. As Pierre

testified, Wheeler and Pierre decided to conduct the stop before Pierre had even seen the vehicle—

meaning that Pierre learned no new information about the vehicle or its occupants after Wheeler

called and before the stop took place. Ex. 3, Pierre Tr. 70:15–73:10.

       Yet Defendants assert that they were justified in conducting the stop because the vehicle

was moving slowly and because car burglaries had previously occurred in the neighborhood. Ex.

3, Pierre Tr. 60:5–24. They also assert that the car was not registered to a location close to the




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encounter—although a license plate search did not show the vehicle as stolen. Ex. 2, Wheeler Tr.

52:10–12. Taken together, these post hoc justifications fall far short of reasonable suspicion. They

are also disputed by Bilal’s evidence, which describes an ordinary scene of three youth searching

for a lost dog. While Pierre asserts that he saw the front passenger “leaning outside the vehicle as

to suggest he was pulling on car door handles,” (Ex. 3, Pierre Tr. 80:12–18), Bilal disputes this

fact. Bilal testified that neither he nor the other occupants leaned out of the vehicle’s windows

during the stop and he recalls this as the vehicle’s seat belt indicator did not go off—which it would

have if the passengers were not wearing seat belts and were hanging out of the windows. Ex. 1,

Hankins Tr. 39:6–40:2. 2 Pierre admits that he did not observe any of the vehicle occupants attempt

to open a car door, before he initiated the stop. Ex. 3, Pierre Tr. 80:19–22. Bilal also not only

testified that he voluntarily approached Wheeler, but also that he told Wheeler his current address

during their first interaction—an action that is inconsistent with a person who is in the process of

committing a crime. Ex. 1, Hankins Tr. 45:10–46:13.

        In similar circumstances, courts have declined to find that reasonable suspicion existed as

a matter of law. In Gonzalez v. Huerta, for example, the Fifth Circuit concluded that an officer

unconstitutionally seized the plaintiff, where the seizure was based solely on “the bare report of a

‘suspicious’ vehicle in the school parking lot” and “a recent history of burglaries of motor vehicles

at the same location.” 826 F.3d 854, 857–58 (5th Cir. 2016); see also Brown v. Texas, 443 U.S.

47, 52 (1979) (police stop of a suspect was not supported by reasonable suspicion, where the

suspect merely “looked suspicious” in a “neighborhood frequented by drug users”); Alexander v.

City of Round Rock, 854 F.3d 298, 305 (5th Cir. 2017) (declining to find reasonable suspicion


2
  This behavior is entirely consistent with Bilal’s explanation to Wheeler, recounted to Pierre: the search
for a lost dog. In any event, any credibility determination to be made between Bilal’s and Defendants’
versions of events leading up to the stop is inappropriate for summary judgment. See Tarver v. City of Edna,
410 F.3d 745, 753 (5th Cir. 2005).


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existed as a matter of law where “the most [the officer] could have observed was a man ([plaintiff])

briefly looking around a vehicle in the parking lot, turning to get into a car, noticing a police car,

continuing to get into the car, and beginning to drive further into the parking lot”).

        Defendants point to no “specific and articulable facts which, taken together with rational

inferences from those facts, reasonably warrant” the stop. United States v. Rodriguez, 564 F.3d

735, 741 (5th Cir. 2009) (citation omitted). Rather, the circumstances are analogous to those in

Hill, where the court noted the government’s “attempt[] to put an ominous gloss on what appears

almost entirely ordinary.” 752 F.3d at 1034. By contrast to circumstances where reasonable

suspicion might exist, Bilal and his friends “were not offending any traffic ordinance; there was

no evidence of recent crimes in the neighborhood, no reason to suspect that [Bilal] or [the]

passenger[s] were wanted by the police, and no other reason to believe that anything unusual was

taking place.” Id. (citation omitted). This might explain why Defendants cite no cases supporting

their conclusion that the stop was justified. See Rec. Doc. 143-2 at 9. And the cases they rely on

in support of their position that the stop was conducted in a “diligent and reasonable manner” are

inapposite, because in those cases the courts analyzed the length of the stop only after first

determining that the stop itself was supported by reasonable suspicion, see id. at 10–11. 3

        Bilal’s expert, Dan Busken, who has 35 years of law enforcement experience, agrees that

Wheeler’s and Pierre’s conduct was not justified. See, e.g., Ex. 6, Busken Report at 18, 21

(“Officer Wheeler’s and Officer Pierre’s detaining Hankins and the others was inconsistent with

law enforcement training as well as recognized, accepted law enforcement practices.”). As Mr.

Busken explains in his report, while “[p]olice officers learn through training that subjective



3
  E.g., United States v. Padilla, 233 F.3d 575 (table), 2000 WL 1468728 (5th Cir. 2000) (finding that “the
information available to the officers gave them reasonable suspicion to think that [the suspect] was dealing
cocaine,” justifying the 45-minute delay between the initial stop and arrival of the drug-sniffing dog).


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suspicious activity may draw their attention to some situation or occurrence that may be criminal

in nature, . . . without specific, articulable facts, this subjective feeling alone does not constitute

objective reasonable suspicion to detain, nor does it provide probable cause to arrest.” Id. at 19.

Mr. Busken also explains that the objective facts did not indicate that any criminal activity was

taking place: “the location of the vehicle (away from the location where it was registered),

initiating consensual contact with a police officer requesting assistance looking for a lost dog,

remaining in the area to look for the dog, rather than leave the area to avoid further contact with

the police, and a computer check that revealed the car was not reported stolen.” Id. at 18.

       Thus, there is a genuine dispute of material fact that precludes summary judgment on the

issue of whether Bilal’s stop was supported by reasonable suspicion.

               2.      Case law clearly establishes that Wheeler and Pierre are not entitled to
                       qualified immunity for Bilal’s unreasonable seizure claim.

       Defendants are not entitled to qualified immunity for this claim. Controlling Fifth Circuit

precedent established that Wheeler’s and Pierre’s conduct was not objectively reasonable when

they stopped Bilal’s vehicle simply because they felt—based on no objectively reasonable facts—

that “something’s not right.” Ex. 2, Wheeler Tr. 69:10-14.

       In Gonzalez, the Fifth Circuit held that a police officer detained an individual without

reasonable suspicion where the officer received a “bare report of a ‘suspicious’ vehicle in the

school parking lot” and knew that there was “a recent history of burglaries of motor vehicles at the

same location.” 826 F.3d at 857–58. There, as here, the officer “did not receive any information

connecting the ‘suspicious’ vehicle to any of the alleged burglaries” before conducting the stop.

Id. The Fifth Circuit held that the officer encountering a “reportedly suspicious person in an area

where criminal activity had occurred in the past” did not constitute reasonable suspicion. Id.




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        Wheeler and Pierre violated Bilal’s constitutional rights by stopping him without

reasonable suspicion, simply based on their hunch that “something’s not right” and that car

burglaries had occurred in the same area. Considering clearly established law like Gonzalez, the

stop lacked reasonable suspicion and thus was objectively unreasonable. 4

                3.      Qualified immunity does not apply at all because it is contrary to the
                        Notwithstanding Clause of the original text of Section 1983.

        There is a “growing, cross-ideological chorus of jurists and scholars” recognizing that

qualified immunity has no basis in the text of Section 1983 or the common law. Zadeh v. Robinson,

928 F.3d 457, 480-81(5th Cir. 2019) (Willet, J. concurring); Ziglar v. Abbasi, 582 U.S. 120, 159-

60 (2017) (Thomas, J., concurring) (courts applying the doctrine are not “engaged in ‘interpret[ing]

the intent of Congress in enacting’” § 1983 and further “the sort of ‘freewheeling policy choice[s]’”

that is antithetical to the judicial role.) (citations omitted). For example, recent scholarship

illuminates that the doctrine of qualified immunity “has no place in Section 1983” because it was

adopted on the mistaken presumption that a relevant statute was silent about the common law. See

generally Alexander A. Reinert, Qualified Immunity’s Flawed Foundation, 111 CALIF. L. REV.

101, 166–67 (forthcoming) 5; see also Rogers v. Jarrett, --- F.4th ----, 2023 WL 2706752, at *7

(5th Cir. Mar. 30, 2023) (Willett, J., concurring) (describing “Professor Reinert’s scholarship” as

“game-changing” because it “supercharges the critique that” the doctrine of qualified immunity




4
  The Gonzalez court found that the police officer’s conduct was not objectively unreasonable in light of no
clearly established law that put the officer on notice. But that decision was issued in 2016, and therefore
constitutes the “directly controlling authority” “establishing the illegality of such conduct” in this case.
McClendon v. City of Columbia, 305 F.3d 314, 328–29 (5th Cir. 2002).
5
  https://californialawreview.org/print/qualified-immunitys-flawed-foundation/


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“does not merely complement the text—it brazenly contradicts it,” which is especially key “in this

text-centric judicial era when jurists profess unswerving fidelity to the words Congress chose”). 6

        For these reasons, the Court should not apply the doctrine of qualified immunity at all.

        B.      Bilal’s Excessive Use of Force Claim Is Supported by Robust Evidence and
                Defendants Are Not Entitled to Qualified Immunity.

                1.      Bilal’s excessive use of force claim is supported by robust evidence.

        To prove an excessive force claim, a plaintiff must demonstrate “(1) an injury that (2)

resulted directly and only from the use of force that was excessive to the need and that (3) the force

used was objectively unreasonable.” Sam v. Richard, 887 F.3d 710, 713 (5th Cir. 2018).

        Bilal has suffered constitutionally cognizable injury, including nightmares, anxiety, and

distress. See Ex. 5, Hankins Decl. ¶¶ 9-16. Defendants misstate the law in arguing that “[o]nly

substantial psychological injuries are sufficient to meet the injury element” of an excessive force

claim. Rec. Doc. 143-2 at 13-14 (emphasis added). Rather, “whether an injury is cognizable

depends on the reasonableness of the force, not just the extent of injury.” Sam, 887 F.3d at 714

(citation omitted). Therefore, “[a]ny force found to be objectively unreasonable necessarily

exceeds the de minimis threshold” and “as long as a plaintiff has suffered some injury, even

relatively insignificant injuries and purely psychological injuries will prove cognizable when

resulting from an officer’s unreasonably excessive force.” Id. at 713.

        Here, Bilal’s psychological harm exceeds the de minimis threshold because he has suffered

severe emotional distress resulting from Pierre’s and Wheeler’s unreasonably excessive force. See,

e.g., Hodge v. Layrisson, 1998 WL 564263, 1998 WL 564263, at *6 (E.D. La. Sept. 1, 1998)


6
  Moreover, courts should be cautious before curbing individuals’ right to a jury of their peers. See
Manzanares v. Roosevelt Cnty. Adult Det. Ctr., 331 F. Supp. 3d 1260, 1294 n.10 (D.N.M. 2018) (“[I]n a
day when police shootings and excessive force cases are in the news, there should be a remedy when there
is a constitutional violation, and jury trials are the most democratic expression of what police action is
reasonable….”).


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(finding “emotional distress” satisfies the injury requirement of an excessive force claim where it

resulted from a police officer brandishing his firearm in an excessive use of force); Mannis v.

Cohen, 2001 WL 1524434, at *8 (N.D. Tex. Nov. 28, 2001) (similar). As set forth in detail in

Bilal’s declaration, this incident has had a significant negative impact on Bilal’s mental health. It

has caused him to experience traumatizing and deeply disturbing nightmares. Hankins Decl. ¶ 10.

His nightmares have involved flashing cop lights, officers in uniform driving cop cars, and swarms

of policemen drawing their guns on him. Id. It has caused Bilal to regularly experience severe

stress, including acute anxiety and extreme panic and fright when he is near police officers. Id. ¶

11. Bilal no longer feels safe in his own neighborhood, regularly experiencing flashbacks to the

incident. Id. ¶ 12. He also has become antisocial, retreating from friends and family, deleting his

social media accounts, and feeling like the incident “has broken [his] mental state.” Id. ¶¶ 13-15.

Crucially, this incident “has had a lasting impact on [Bilal’s] sense of self and self-worth.” Id. ¶ 16.

       The Court can rely on Bilal’s undisputed testimony and recitation of the facts, where not

contrary to any other evidence in the record. See Odubela v. Exxon Mobil Corp., 736 F. App’x

437, 441 (5th Cir. 2018) (“[The Court] will not evaluate credibility or weigh evidence” at the

motion for summary judgment stage); Leonard v. Dixie Well Service & Supply, Inc., 828 F.2d 291,

294 (5th Cir. 1987) (“The party opposing a motion for summary judgment, with evidence

competent under Rule 56, is to be believed.”). Indeed, Defendants’ cases only reinforce that Bilal’s

injury is constitutionally cognizable. Unlike Bilal, the plaintiffs in those cases did not present any

evidence of emotional distress, including nightmares, anxiety, or sleeplessness. See, e.g., Casto v.

Plaisance, 2016 WL 2855468, at *6 (E.D. La. May 16, 2016) (concluding plaintiff’s psychological

harm was not constitutionally cognizable, where he testified only that he was “pretty upset”);

Elphage v. Gautreaux, 969 F. Supp. 2d 493, 509-10 (M.D. La. 2013) (noting plaintiff’s failure to




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present any evidence of psychological injury). Bilal’s testament of how Defendants’ conduct has

caused him severe and prolonged emotional distress establishes more than de minimis injury.

       Next, Wheeler’s and Pierre’s use of force was excessive relative to the need and objectively

unreasonable because they brandished their guns at Bilal who posed no threat whatsoever to them.

To determine whether force was objectively unreasonable, courts assess the “facts and

circumstances of each particular case,” including (1) “the severity of the crime at issue”; (2)

“whether the suspect poses an immediate threat to the safety of the officers or others”; and

(3) “whether he is actively resisting arrest or attempting to evade arrest by flight.” Cooper v.

Brown, 844 F.3d 517, 522 (5th Cir. 2016) (quoting Graham v. Connor, 490 U.S. 386, 396 (1989)).

       First, although Wheeler and Pierre attempt to reframe their stop as an investigation of a

potential car burglary, no crime was at issue because Wheeler and Pierre did not even have

reasonable suspicion to conduct a stop. See supra at § II.A.1; see Rec. Doc. 143-2 at 15.

       Second, evidence establishes that at no point did Bilal or any of his friends pose any threat

at all to Wheeler and Pierre. For example, it is undisputed that Bilal and his friends affirmatively

approached Wheeler, seated in his marked police car, and sought his help in finding the lost dog.

Ex. 1, Hankins Tr. 44:12-46:13; Ex. 2, Wheeler Tr. 50:21-51:7; Ex. 3, Pierre Tr. 71:4-17. Bilal

told Wheeler his home address during this first encounter and described the lost dog. Ex. 1,

Hankins Tr. 45:21-46:6. Neither Wheeler nor Pierre testified that they observed Bilal and his

friends committing any traffic violations, and both admitted that Bilal and his friends were kids.

Ex. 2, Wheeler Tr. 49:10-16; 94:16-95:3; Ex. 3, Pierre Tr. 60:5-24; 72:5-7. All of these facts show

that Bilal posed no immediate threat to the safety of Wheeler and Pierre.

       Third, Bilal never at all resisted any interaction with Wheeler and Pierre or otherwise

attempted to evade them. Despite Bilal’s understandable shock of being pulled over after just




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having sought Wheeler’s help, Bilal and his friends stopped promptly when Wheeler flashed his

car lights and used his loudspeaker. Ex. 1, Hankins Tr. 55:16-56:17. Wheeler and Pierre

immediately drawing their weapons on Bilal and his friends was thus an extreme escalation of

force that was completely unwarranted and objectively unreasonable given the circumstances.

       Defendants cannot overcome the undisputed fact that Bilal and his friends did not resist

any interaction with Wheeler and Pierre or otherwise attempt to evade them by mischaracterizing

Bilal’s testimony to assert that “he did not know for certain that Wheeler had a gun in his hands.”

Rec. Doc. 143-2 at 5. In fact, Bilal testified repeatedly that both Wheeler and Pierre brandished

their guns at him. Ex. 1, Hankins Tr. 64:6–25, 65:15–17. Defendants also argue that Bilal cannot

establish a constitutional violation because “[t]his case does not involve a use of deadly force.”

Rec. Doc. 143-2 at 15. But unconstitutional uses of force are far broader than just deadly force.

Here, it was objectively unreasonable for Wheeler and Pierre to brandish their deadly weapons at

compliant youths who had previously sought Wheeler’s help finding a lost dog. Bilal’s expert

agrees that Wheeler’s and Pierre’s conduct was unjustified. See Busken Report at 17-18 (“[I]t is

my opinion that the use of force as alleged by Bilal Hankins in his complaint and in his testimony

was not justified based on the totality of the circumstances, inconsistent with generally accepted

police practices, or what is generally understood by law enforcement to be appropriate.”).

               2.     Clearly established law shows that Wheeler and Pierre are not entitled to
                      qualified immunity on Bilal’s excessive use of force claim.

       Defendants are not entitled to qualified immunity where their “use of force violated clearly

established statutory or constitutional rights of which a reasonable person would have known.”

Sam, 887 F.3d at 713 (citation omitted). Defendants argue that “controlling Fifth Circuit case law

has established that the pointing of a weapon at passengers in a vehicle during an investigatory

stop can be reasonable given the circumstances.” Rec. Doc. 143-2 at 17. But Defendants



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conveniently ignore the circumstances here. Wheeler and Pierre could not reasonably have

perceived Bilal and his friends to be threats. Ex. 3, Pierre Tr. 83:19-84:16; 92:24-93:7; 96:9-13.

       Case law clearly establishes that where “all Graham factors counsel against the use of

force, it is objectively unreasonable for a police officer to brandish a deadly weapon at . . .

compliant suspects.” Flores v. Rivas, EP-18-CV-297-KC, 2020 WL 563799, at *7–9 (W.D. Tex.

Jan. 31, 2020). In Flores, an officer “allegedly brandished his weapon at a group of compliant

children, despite the absence of any fact or circumstance which would lead a reasonable person to

believe that [p]laintiffs committed or were committing any offense, whatsoever.” Id., at *7

(internal citation and quotation marks omitted).

       That is precisely what has occurred here. No facts would lead a reasonable person to believe

that Bilal—who had just requested Wheeler’s assistance with help finding a lost dog—was

committing a crime. See supra at § II.A.1. Wheeler even described Bilal and his friends as “kids.”

Ex. 7 at 6-7 (Wheeler Interview). Under these circumstances, courts routinely hold that a right was

clearly established. See Mannis, 2001 WL 152443, at *7–8 (denying qualified immunity on

unlawful seizure and excessive force claims, where evidence showed an officer brandished a gun

at plaintiff lacking “legal justification in using any force whatsoever,” including because plaintiff

was “not resist[ing] lawful police authority”); see Miller v. Salvaggio, 2021 WL 3474006, at *9–

10 (W.D. Tex. Aug. 6, 2021) (finding it “objectively unreasonable for [d]efendants to point their

guns at [p]laintiffs,” where all “Graham factors counsel against the use of force”); see also Perkins

v. Hart, --- F. Supp. 3d ----, 2022 WL 2952992, at *12–13 (E.D. La. July 26, 2022) (denying

qualified immunity, finding that “pointing a taser at [a young person] and threatening to use it was

unreasonable” and noting “robust consensus that pointing a gun at compliant children is

objectively unreasonable”), appeal filed.




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       Defendants’ cases only further show that Bilal’s right was clearly established because they

involve violent or non-compliant suspects, or officers investigating under a warrant. See, e.g.,

Crane v. City of Arlington, 50 F.4th 453, 467 (5th Cir. 2022) (evading arrest); Hinojosa v. City of

Terrell, 834 F.2d 1223, 1225, 1230–31 (5th Cir. 1988) (stopping fight); Hodge v. Laryisson, 226

F.3d 642, 2000 WL 1029029, at *3 (5th Cir. July 7, 2000) (conducting drug raid). Defendants cite

to no case law where the suspects were wholly compliant, which is undisputed in this case.

       Accordingly, case law clearly established that it was objectively unreasonable for Wheeler

and Pierre to brandish their guns at Bilal, who was compliant at all times. Or, alternatively, that

the questions about whether the officers drew their weapons create significant disputes of material

fact that preclude a ruling on summary judgment.

       C.      Bilal’s Conspiracy Claim Is Supported by the Evidence and Defendants Are
               Not Entitled to Qualified Immunity.

       Material disputes of fact exist regarding Bilal’s conspiracy claims under Section 1983 and

Section 1985(3). A conspiracy claim under Section 1983 requires proof of “the existence of (1) an

agreement to do an illegal act and (2) an actual constitutional deprivation.” Whisenant v. City of

Haltom City, 106 F. App’x 915, 917 (5th Cir. 2004) (citation omitted). Defendants argue that

“Plaintiff has produced no evidence of any agreement between Wheeler and Pierre to do any illegal

act.” Rec. Doc. 143-2 at 20. But the record shows that Wheeler and Pierre jointly agreed to conduct

the unlawful stop of Bilal and his friends. For example, Wheeler stated “So I’m on the phone with

Pierre. I’m like, you know, what do you think? He goes, I don’t know, something’s not right. I

said, okay, cool, let’s do a stop.” See Ex. 7, (Wheeler Interview) at 7. At that point, Pierre had not

even seen Bilal, but still agreed to help Wheeler conduct the stop. This states a conspiracy. See

Mack v. Newton, 737 F.2d 1343, 1350-51 (5th Cir. 1984) (conspiracy claims are “rarely evidenced

by explicit agreements” and “almost inevitably rest[] on the inferences that may fairly be drawn



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from the behavior of the alleged conspirators” (citations omitted and cleaned up)). Moreover, as

demonstrated supra, Bilal has shown the actual constitutional deprivations of an unlawful stop and

the excessive use of force. Thus, Bilal’s Section 1983 conspiracy claim should proceed to trial.

       Material disputes of fact also exist on Bilal’s Section 1985(3) claim. For conspiracy claims

under Section 1985(3), plaintiffs must prove “(1) a conspiracy; (2) for the purpose of depriving a

person of the equal protection of the laws; and (3) an act in furtherance of the conspiracy; (4) which

causes injury to a person or a deprivation of any right or privilege of a citizen of the United States.”

Lockett v. New Orleans City, 607 F.3d 992, 1002 (5th Cir. 2010) (citation omitted).

       There is a material dispute of fact regarding Wheeler’s and Pierre’s conspiracy to deprive

Bilal of his constitutional rights, as also demonstrated for Bilal’s Section 1983 conspiracy claim.

The officers’ intent to stop Bilal based on his race is clear through Wheeler’s own statement to

Bilal, where Wheeler said they conducted the stop because “you know, three young men, in a nice

car, in this neighborhood.” Ex. 1, Hankins Tr. 71:3-5. This statement, along with the absence of

any reasonable suspicion for the stop, establishes a genuine dispute of material fact about whether

Wheeler and Pierre harassed Bilal based on his race. See, e.g., Jones v. Bd. of Supervisors of the

Univ. of La. Sys., 2015 WL 3409477, at *8 (E.D. La. May 27, 2015) (concluding plaintiffs pled a

Section 1985(3) claim, in part by alleging defendant “harassed [a plaintiff] based on race”); see

also Imani v. City of Baton Rouge, 2022 WL 2760799, at *47–49 (M.D. La. July 14, 2022)

(denying defendants’ motion for summary judgment on plaintiffs’ conspiracy claim, where

circumstantial evidence reflected defendants’ acts furthering a common end and their making of

arrests without justification). Thus, Bilal’s conspiracy claim is supported by ample evidence.




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       D.      Bilal’s Supervisory Liability Claim Against Defendants Perilloux, Najolia,
               Brenckle, Laurent, Petit and Brown Is Supported By the Evidence and These
               Defendants Are Not Entitled to Qualified Immunity.

       To prevail on a supervisory liability claim, a plaintiff “must identify defendants who were

either personally involved in the constitutional violation or whose acts are causally connected to

the constitutional violation alleged.” Woods v. Edwards, 51 F.3d 577, 583 (5th Cir. 1995). This

requires a showing that (1) an individual failed to supervise, train, or discipline an officer; (2) a

causal connection existed between the failure to supervise, train, or discipline and the violation of

the plaintiff’s rights; and (3) the failure to supervise, train, or discipline amounted to deliberate

indifference to plaintiffs’ constitutional rights. City of Canton v. Harris, 489 U.S. 378, 386–89

(1989); see also Burge v. St. Tammany Parish, 336 F.3d 363, 370 (5th Cir. 2003). “[D]eliberate

indifference” requires evidence “that a municipal actor disregarded a known or obvious

consequence of his action.” Bd. of Cnty. Comm’rs v. Brown, 520 U.S. 397, 410 (1997). Deliberate

indifference can occur through “action or inaction.” See Southard v. Tex. Bd. of Crim. Just., 114

F.3d 539, 550–51 (5th Cir. 1997).

       Here, Defendants do not dispute that Perilloux is responsible for supervising, training, and

disciplining Wheeler and Pierre. But they tellingly fail to contest Bilal’s assertions that Perilloux

was deliberately indifferent to the well-known or obvious consequences of his failures to train,

supervise, and discipline, which are constitutional violations like those that occurred here.

Perilloux’s deposition reveals that he took no meaningful steps to train, supervise, or discipline

Hurstville patrol officers. Ex. 10, Perilloux Tr. 37:16-40:22. Instead, he relied entirely and blindly

on Wheeler’s and Pierre’s supervisors from other entities. Ex. 10, Perilloux Tr. 33:5-36:25.

       Najolia, Brenckle, Laurent, Petit and Brown of OLD-PD also were deliberately indifferent

to the well-known or obvious consequences of failing to train, supervise, or discipline Wheeler for

his paid detail work. These Defendants admit that they did not supervise Wheeler while he was on


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patrol at Hurstville. This failure to supervise necessarily led to a failure to train and discipline

because none of these supervisors were aware of Wheeler’s conduct during paid details. Wheeler’s

prior uses of excessive force and false reports, including that which led to his firing from the New

Orleans Police Department, only increased the well-known and obvious risk stemming from

failures to train, supervise, and discipline him. Ex. 4, Wheeler Termination). Bilal’s expert agrees

that these Defendants’ inaction was unjustified. See, e.g., Ex. 6, Busken Report at 21 (“Hurstville

Paid Detail are essentially performing police duties without supervision and monitoring. Based on

my training, knowledge, and expertise, this creates a well-known and obvious risk that police

officers will violate the law.”).

         Defendants argue that “Wheeler was not under the supervision or authority of the OLD,

SLFPA-E, or its employees.” Rec. Doc. 143-2 at 24. This is wrong. These Defendants must

supervise Wheeler while he is on patrol at Hurstville. For instance, Wheeler cannot work a paid

detail without these Defendants’ approval, Wheeler is clothed with the authority of an OLD-PD

officer, including through use of an OLD-PD vehicle, gun, and uniform, and he must follow the

OLD-PD’s rules and regulations while on the paid detail. Ex. 2, Wheeler Tr. at 32:2-5; 35:5-37:14;

41:5-23; 44:6-21. Even Perilloux expects that Wheeler will follow OLD-PD’s rules and regulations

while on patrol at Hurstville. Ex. 10, Perilloux Tr. 33:5-25.

III.     THIS COURT SHOULD RETAIN SUPPLEMENTAL JURISDICTION OVER
         BILAL’S STATE LAW CLAIMS, WHICH ARE SUPPORTED BY AMPLE
         EVIDENCE.

         Defendants do no more than make the mere passing reference that they are entitled to

summary judgment on Bilal’s state law claims for the same reasons as for Bilal’s federal claims.

They are wrong. Bilal’s evidence establishes a genuine dispute of fact regarding all of his state law

claims: (1) aggravated assault; (2) assault; (3) intentional infliction of emotional distress; and

(4) negligent infliction of emotional distress.


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       Assault and Aggravated Assault Claims. In Louisiana, a violation of a criminal statute can

be the basis for a civil cause of action. First, “[a]ssault is an attempt to commit a battery, or the

intentional placing of another in reasonable apprehension of receiving a battery.” LA. R.S. 14:36.

To state a claim for assault, a plaintiff must allege: “(1) the intent-to-scare mental element (general

intent); (2) conduct by the defendant of the sort to arouse a reasonable apprehension of bodily

harm; and (3) the resulting apprehension on the part of the victim.” Martin v. Am. Midstream

Partners, LP, 386 F. Supp. 3d 733, 741 (E.D. La. 2019). Second, “[a]ggravated assault is an assault

committed with a dangerous weapon.” LA. R.S. 14:37. For this claim, a plaintiff must allege that

a defendant “made an attempt to commit a battery, or intentionally placed the victim in reasonable

apprehension of receiving a battery by the discharge of a firearm.” State in Int. of C.B., 52,245,

251 So. 3d 562, 566 (La. App. 2 Cir. June 27, 2018).

       Here, Wheeler and Pierre brandished their weapons at Bilal and his friends, which placed

Bilal in reasonable apprehension of injury. Ex. 1, Hankins Tr. 61:11-16; 62:8-13; 64:9-10. Thus,

evidence supports Bilal’s assault and aggravated assault claims.

       Intentional Infliction of Emotional Distress. This claim has three elements: (1)

defendants’ conduct was extreme and outrageous; (2) plaintiffs suffered severe emotional distress;

and (3) the defendants desired to inflict severe emotional distress or knew that it was certain or

substantially certain to result from his conduct. Sullivan v. Malta Park, 156 So. 3d 751, 757 (La.

Ct. App. 2014). As shown above, Wheeler’s and Pierre’s actions toward Bilal were extreme and

outrageous. Both Wheeler and Pierre brandished their guns and thus used excessive force against

Bilal, who was entirely compliant. Ex. 1, Hankins Tr. 61:11-16; 62:8-13; 64:9-10; Ex. 3, Pierre

Tr. 84:7-9. Every reasonable person would know that brandishing guns at Bilal under the facts

here would cause emotional distress, which it did. See Ex. 5, Hankins Decl. ¶¶ 7–16.




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        As described supra at § II.B.1 and detailed in Bilal’s declaration, this incident has caused

Bilal significant and prolonged emotional distress, including vivid and terrifying nightmares,

difficulty sleeping, and acute anxiety and panic upon seeing police officers. Id. ¶¶ 9–12. Bilal also

now suffers from severe antisocial tendencies, withdrawing from his friends and family as a result

of the incident. Id. ¶¶ 13–15. Wheeler’s and Pierre’s conduct has profoundly and negatively

impacted Bilal’s mental health; Bilal no longer feels safe in his neighborhood and is not the high

functioning, social person that he was prior to the incident. See Ex. 5, Hankins Decl. ¶¶ 9–16.

Thus, evidence supports this claim. 7 The degree of mental suffering and credibility of Bilal’s

suffering are essential, contested issues that a jury must resolve.

        Negligent Infliction of Emotional Distress. The elements of this claim are (1) defendants

owed an independent, direct duty to the plaintiff; (2) the duty afforded protection to plaintiff for

the risk and harm caused; (3) the duty was breached; and (4) the plaintiff suffered genuine, serious

mental anguish. Directv, Inc. v. Atwood, 2003 WL 22765354, at *3 (E.D. La. Nov. 19, 2003). As

law enforcement officers, Wheeler and Pierre owed a duty to Bilal to act reasonably. Mathieu v.

Imperial Toy Corp., 646 So. 2d 318, 322 (La. 1994).

        Bilal’s sworn declaration details the acute and prolonged emotional distress he has

experienced because of Wheeler’s and Pierre’s conduct. See Ex. 5, Hankins Decl. ¶¶ 9-16. As

described above, Bilal regularly confronts sustained and significant anxiety, sleeplessness,

nightmares, antisocial tendencies, and feelings of unsafety and mistrust. Evidence of anxiety and

nightmares, at a minimum, create a genuine dispute of material fact about whether Bilal suffered



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 See, e.g., Graham v. Dallas Area Rapid Transit, 288 F. Supp. 3d 711, 736 (N.D. Tex. 2017) (relying on
plaintiff’s affidavit testimony to find that plaintiff raised a genuine dispute of material fact as to the police
officers’ entitlement to summary judgment based on qualified immunity); Painter Fam. Invs., Ltd. v.
Underwriters at Lloyds, Syndicate 4242 Subscribing to Pol’y No. 42-7560009948-L-00, 2012 WL
13171208, at *2 (S.D. Tex. Jan. 12, 2012) (same).


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severe emotional distress. Loupe v. O’Bannon, 2018 WL 343850, at *8 (M.D. La. Jan. 8, 2018).

Thus, the evidence supports Bilal’s negligent infliction of emotional distress claim.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Defendants’ motion for summary

judgment based on qualified immunity.

  Dated: April 5, 2023                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record by electronic transmission, this 5th day of April 2023.

                                              Christopher M. Andrews




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